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                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                            CHARLESTON DIVISION

BRANCH BANKING AND                  )                 No. 2:17-CV-1359-DCN-BM
TRUST COMPANY,                      )
                                    )
                  Plaintiff,        )
            vs.                     )
                                    )
NEHEMIAH BRYANT,                    )
                                    )
                  Defendants.       )
____________________________________)

ANSWERS TO LOCAL RULE 26.01 COURT ORDERED INTERROGATORIES

       COMES NOW the Plaintiff, Branch Banking and Trust Company, (hereinafter

referred to as “BB&T” or “Plaintiff”), by and through his undersigned counsel of record,

hereby submits his responses to interrogatories as required by Civil Local Rule 26.01,

and states as follows:

       A. State the full name, address, and telephone number of all persons or legal
          entities who may have a subrogation interest in each claim and state the
          basis and extent of said interest.

          ANSWER:          None.

       B. As to each claim, state whether it should be tried jury or non-jury and
          why.

          ANSWER:          The underlying action which Defendant has “removed” is one
          of foreclosure which was handled non-jury by the Berkeley County (South
          Carolina) Master In Equity.

       C. State whether the party submitting these responses is a publicly owned
          company and separately identify: (1) each publicly owned company of
          which it is a parent, subsidiary, partner, or affiliate; (2) each publicly
          owned company which owns ten percent or more of the outstanding shares
          or other indicia of ownership of the party; and (3) each publicly owned




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   company in which the party owns ten percent or more of the outstanding
   shares.

   ANSWER:         BB&T is not a publicly owned company. BB&T is a wholly
   owned subsidiary of BB&T Corporation and other than BB&T Corporation, no
   publicly owned company owns ten (10%) percent or more of BB&T. BB&T
   does not own ten (10%) percent or more of the outstanding shares of any
   publicly owned company.

D. State the basis for asserting the claim in the division in which it was filed
   (or the basis of any challenge to the appropriateness of the division). See,
   Local Civil Rule 3.01.

   ANSWER:           This matter is not properly within the District Court, but to
   the extent actions arising in Berkeley County, South Carolina should be
   assigned to a division, such assignment to the Charleston Division is proper.

E. Is this action related in whole or in part to any other matter filed in this
   District whether civil or criminal? If so, provide: (1) a short caption and
   the full case number of the related action; (2) an explanation of how the
   matters are related; and (3) a statement of the status of the related action.
   Counsel should disclose any cases which may be related regardless of
   whether they are still pending. Whether cases are related such that they
   should be assigned to a single judge will be determined by the Clerk of
   Court based on a determination of whether the cases: arise from the same
   or identical transactions, happenings, or events; involve the identical
   parties or property; or for any other reason would entail substantial
   duplication of labor if heard by different judges.

   ANSWER:           This matter is not related to any other matter filed in United
   States District Court.

Executed this 14th day of June, 2017 at Columbia, South Carolina.

                           By:           s/Jonathan M. Milling
                                  Jonathan M. Milling (Fed. ID No. 7754)
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                                  Trust Company


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